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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiff,                                         8:20CR301

         vs.
                                                               ORDER ON APPEARANCE FOR
TRAYNELL D. TONEY,                                           SUPERVISED RELEASE VIOLATION

                         Defendant.


        The defendant appeared before the Court on January 20, 2022 regarding Petition for Offender
Under Supervision [44]. Julie Hansen represented the defendant. Crystal Correa represented the
government. The defendant was advised of the alleged violation(s) of supervised release, right to
retain or appointment of counsel, and any right to a preliminary hearing in accordance with Federal
Rule of Criminal Procedure 32.1(a)(3).
        The defendant freely, knowingly, intelligently, and voluntarily waived the right to a preliminary
hearing. Fed. R. Crim. P. 32.1(b)(1)(A). The Court finds probable cause as alleged in the petition to
believe the defendant violated the terms of supervised release and the defendant should be held to
answer for a final dispositional hearing. Fed. R. Crim. P. 32.1(b)(1)(C). The defendant shall appear
personally for a final dispositional hearing before U.S. District Judge Brian C. Buescher in Courtroom
No. 5, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 11:00 a.m. on
March 3, 2022.
        The government moved for detention based upon risk of flight and danger. The defendant
requested a detention hearing which was held. The court finds that the defendant failed to meet his
burden to establish by clear and convincing evidence that he will not flee or pose a danger to any other
person or to the community. Fed. R. Crim. P. 32.1(a)(6); 18 U.S.C. § 3143(a)(1). The government’s
motion for detention is granted as to risk of flight and danger and the defendant shall be detained until
further order of the Court.
        The defendant shall be committed to the custody of the Attorney General or designated
representative for confinement in a correctional facility and shall be afforded a reasonable opportunity
for private consultation with defense counsel. Upon order of a United States court or upon request of
an attorney for the government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for an appearance in connection with a court proceeding.


        IT IS SO ORDERED.
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   Dated this 20th day of January, 2022.

                                               BY THE COURT:

                                               s/ Susan M. Bazis
                                               United States Magistrate Judge




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